Case 2:04-cr-20059-.]PI\/| Document 94 Filed 08/26/05 Page 1 of 5 Page|D 111
UN|TED STATES D|STR|CT COURT

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.v. 2:04cR20059-01-Ml CUM- U-S- BTWCOLM
1118 C-,'~ -.1 1,1&_%.1§>H13
ANTHoNY RchARosoN

Michae| J. Stenge|l CJA

Defense Attorney
50 North Front Street, # 850
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Ju|y 22, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section MMSM¢LS§ Offense Number!sl
Concluded
18 U.S.C. §§ 922(g) and Fe|on in Possession of a Firearm 03!30/2003 1

924(@,)

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1998.

Count 2 is dismissed on the motion of the United States.

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residencel or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 05/27/1962 August 26, 2005
Deft’s U.S. |Vlarsha| No.: 19543-076

Defendant’s |V|ai|ing Address:
3441 Piney Woods
lVlemphis, TN 38118

/jS? iii °' @M
J N PH|PPS MCCALLA
UN| D ATES D|STR|CT JUDGE

August 029 ,2005

This document entered on the docket has in compliance
with noia ss ami/cr ez(bj Fnch on '

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 180 Months (or 15 Years).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at a facility near Memphis, TN.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation oft"lcer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation omcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendantsha|| not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement omcer;

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11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate with DNA collection as directed by the Probation Oftice.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Ofiice.

3. The defendant shall submit to mental health testing and mental heaith treatment as directed
by the Probation Ofiice.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedu|e of Payrnents may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediately
F|NE
No fine imposed.
RESTITUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:04-CR-20059 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Honorable J on McCalla
US DISTRICT COURT

